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AO 91 (Rev. lI/ll) CriminalComplaint :\\_.l: l 7 lt s _ _ _
UNITED STATES DISTRICT CoURT" 1
for the EUi§ .EPP ~l _E‘.-s ms 35
Southern District of Ohio ‘
United States cf America ) - ";: ` M
V. ) c ‘,. : ii §H, H ‘_ i§g,; ~::§
) Case No. " ` ‘”
JAMES WARREN §
)
)
Def?nc!'am(s)
CRIMINAL COMPLAINT
l_. the complainant in this case, etate that the following is true to the best of my knowledge and belief.
On or about the date(S) of March 27, 2019 in the county of |Vlon’tgon'iery in the
Southern District of Oh`lo , the defendant{s) violated:
Code Sectz'on Offense Descm`pfz'c)n
18 U.S.C. 922(9)(1} Possession of a firearm after having been previously convicted cfa felony
offense

This criminal complaint is based on these facts:

See attached affidavit

 

d Continued on the attached Sheet.

`Ly%iplamnnf ' signature
Andrew McCoy, Tas 'F."Q{ce Oft`lcer, FBl

. ii .»< ‘ .
P)'mtea' name ancil,_trr!e

 

Sworn to before me and signed in my presence

Date; 04/01/2019 /\/\

( ` \ Jz.'_o'ge’$ §r`gncztw'e

  

/l/v\/~\

City and gram Dayton, Ohio |V|ichae| J. Newman, United Statee Magietrete Judge

Pr."n!ed name and title

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AFFIDAVIT
Your Affiant, Andrew D. l\/lcCoy, being duly sworn, does hereby depose and state as follows:
I.
INTRODUCTION

l. l am a sworn law enforcement officer in the State of Ohio for over eighteen (l S) years. l
am presently a sworn member of the l\/[ontgomery County Sheriff"s Office. l am currently assigned
to the Federal Bureau of lnvestigation's (FBI) Southern Ohio Safe Streets Task Force (SOSSTF)
as a Task Force Officei' (TFO), I have received training in drug trafficking investigations and have
participated in numerous narcotics-related investigations (ultiniately leading to successful
prosecution) that involved surveillance, gathering evidence of money laundering, interviewing
suspected drug traffickers, and supervising the activities of informants who provided information
and assistance which resulted in the seizure of narcotics l have conducted numerous
investigations into the unlawful distribution and possession of controlled substances; use and
possession of firearms Based on my training and experience, l am familiar with federal firearms
laws, and l am aware that possession of a firearm by a convicted felon is a violation of Title 18,

United States Code, Section 922(g)(l).

Il.
_PURPOSE OF AFFIDAVIT
2. This Affidavit is made in support of an arrest warrant for JAMES .]AMAR WARREN
(hereinafter "`WAR`REN”). My knowledge of this investigation is based upon my own personal
observations, as well as the observations and investigation conducted by other law enforcement
officers knowledgeable of the facts and circumstances involved in subject investigation l have

not included in this Aftidavit all the facts known to me, but only that information sufficient to

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establish probable cause to believe that WARREN has committed a violation of Title 18, United
States COde, Section 922 (g)(l), that being i“`Felon in possession ofa firearm."'
III.

SUMMARY OF PR()BABLE CAUSE
3. On l\/larch 27, 2019, investigators from the RANGE Task Force served a search warrant at
1319 Philadelphia Drive, in the City of Dayton, Montgomery County, Ohio. This search warrant
was issued by the Honorable Dayton Municipal Court Judge Carl Henderson on March 27, 2019.
4. Upon making entry into the residence, RANGE Task Force investigators encountered
WARREN in the dining room on the first floor of the residence and another niale, Derrick
Fitzpatrick Jr., in second floor hallway of the residence WARREN and Fitzpatrick were detained
and a search of the residence was then conductedl
5. During the search of the residence, RANGE investigators located three (3) firearms in various
locations of the house. A Glock 23, .40 caliber pistol, serial #BDNPGZS was located in a dresser
drawer in WARREN’$ bedrooni. Tliis firearm had an empty magazine inserted into its magazine
well with two (2) magazines loaded with fifteen (15) total rounds in the drawer next to it. A Smith
& Wesson M&P 15-22, .22 caliber rifle, serial #DFBZSlO was located under the basement steps
immediately outside of WARREN’s bedroom door. This firearm was found to be loaded with a
magazine containing twenty five (25`) total rounds The third fireami, a Taurus GZC, 9mm pistol,
serial #TLY32666, was located in a dresser drawer in the upstairs bedroom used by Fitzpatrick.
This firearm was loaded with a magazine containing fourteen (14) rounds of 9mm caliber
ammunition
6. WARREN was subsequently interviewed by RANGE Task Force Detective Sainuel

Hemingway (which was recorded). WARREN waived his l\/[iranda Rights and agreed to speak to

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Detective Heiningway without a lawyer present During the interview, WARREN told Detective
Hemingway that he lived at 1319 Philadelphia Drive with his mother and his brother_ WARREN
admitted that all three firearms located in the residence belonged to him and he stated that he kept
the firearms in the residence for protection WARREN described each firearm and their specific
locations within the residence to Detective Hemingway. WARREN also admitted to Detective
Hemingway that he was aware that he was legally prohibited from owning or possessing any
firearms due to his previous criminal convictions
7. A check of WARREN’S criminal history revealed that he has been previously convicted of
felony criminal offenses (all punishable by more than one year in prison):
a) on or about November 12, 2008, in the Montgomery County, Ohio Court of Common
Pleas, case number 2008 CR 4l0/B, of "'Felonious Assault (Police Officcr)(Deadly
Weapon);”
b) on or about November 12, 2008, in the Montgornery County, Ohio Court of Common
Pleas, case number 2008 CR 03447, of “Trafficking in Cocaine (25 grams but <100
grams)(CRACK).”
8. On l\/larch 27, 2019, l responded to the l\/lontgomery County (Ohio) Sheriff"s Office firearms
range and test fired the Glock 23, .40 caliber pistol, serial #BDNPGQS; the Smitli & Wesson M&P
15-22, .22 caliber rifle7 serial #DFBQSIO; and the Taurus G2C, 9mm pistol, serial #TLY32666. l
found all three firearms to be operable.
9. I subsequently spoke with Special Agent Chris Reed of the Bureau of Alcohol, Tobacco,
Firearnis, and Explosives, who has training and experience in determining a firearm’s place of
manufacture Agent Reed advised that the Glock 23, .40 caliber pistol, serial #BDNP625; the

Smith & Wesson l\/I&P 15-22, .22 caliber rifle, serial #DFBZSlO; and the Taurus GZC, 9mm pistol,

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serial #TLY32666 were all manufactured outside the state of Ohio, and thus moved in interstate
commerce

10. Based on the facts set forth in the Affidavit, there is probable cause to believe that, on or
about March 27, 2019, in the Southem District of Ohio, WARREN committed a violation of Title

18, United States Code, Section 922 (g)(l), that being “Felon in possession of a firearm.”

Further your Affiant sayeth naught.

Anr§:\Y./l(/ICC , Task Force Officer
F ed ureau f Investigation

Southern Ohio afe Streets Task Force

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Subscribed and §§o/ni)tr§_be v r§e this day of Y , 2019.

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